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No. 16-17197

    

UNITED STATES COURT 0F APPEALS
FOR THE NINTH CIRCUIT

FEDERAL TRADE COMMISSION,
Plainti#-Appellee,

V.

AMG CAPITAL MANAGEMENT, LLC, et al.,
Defendants-Appellants,

On Appeal from the Um'ted States
District Court for the District of Nevada
(No. 2:12~cv-00536)

 

WASHINGTON LEGAL FOUNDATION’S AMICUS CURLAE

BRIEF IN SUPPORT OF DEFENDANTS-APPELLANTS’
PETITION FOR REHEARING EN BANC

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Washington Legal Foundation has no parent corporation, and no

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INTEREST OF AMICUS CURIAE‘

Washington Legal Foundation is a nonproiit, public-interest law
firm and policy center with supporters in all fifty states. WLF promotes
free enterprise, individual rights, limited government and the rule of
law. It appears often as amicus curiae in cases involving the FTC Act.
See, e.g., FTC v. Shire ViroPharma, Inc., __ F.3d ____, 2019 WL 908577
(3d Cir. Feb. 25, 2019).

Not many litigants seeking rehearing en banc can claim the
explicit support of a majority of the underlying panel. Here, however, in
a special concurrence, Judge O’Scannlain, joined by Judge Bea, urge the
Circuit to “rehear this case en banc.” (Slip Op. 22.) Judges O’Scannlain
and Bea contend that this Circuit has erred in construing the Word
“injunction” in §13(b) of the FTC Act to encompass “equitable relief,
including restitution.” They argue, among other things, that
“injunction” does not mean “equitable relief’; that nothing in the text or
structure of the statute supports pretending that “injunction” means

“equitable relief’ ; and that, in any event, restitution of the sort awarded

 

‘?No party’s counsel authored any part of this brief. No one, apart
from WLF and its counsel, contributed money intended to fund the
briefs preparation or submission All parties have consented to the
briefs being filed.

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here is not equitable relief. Judge O’Scannlain’s concurrence is thorough
and incisive. lt fully justifies the rehearing for which it calls.

WLF writes separately to expand on the problems with relying, as
this Circuit does when reading §13(|0), on Porter v. Warner Holding Co.,
328 U.S. 395 (1946). As we will explain, that 73-year-old decision uses
an obsolete mode of statutory interpretation that the Supreme Court

has since rejected.

SUMMARY OF ARGUMENT

The words “equity of the statute” are not on many lips these days.
“The principle involved in the phrase has been relegated,” one
commentator wrote over a hundred years ago, “to the limbo of legal
antiquities, reappearing now and then in altered form, the ghost of its
former se]f.” W.H. Loyd, The Equity of a Statute, 58 U. Pa. L. Rev. 76,
76 (1909). Dead the concept may be-but the ghost of its former self
stalks this case.

The equity of the statute was “a vague and undefined power . . .
vested in the judiciary . . . to disregard the letter of the law to attain the
ends of justice.” Id. at 77. It entered English law in the Late Middle

Ages, and it receded in the nineteenth century. In the mid-twentieth

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century it enjoyed a brief rebirth, in altered form, when our Supreme
Court used something very like it to read “implied” rights and remedies
into statutes; but the Court soon reversed course. It concluded, quite
correctly, that unbridled judicial “equity’ in statutory interpretation is
incompatible with a system of separated powers and democratic
lawmaking

Yet the phantom wanders still. This Circuit, when interpreting
the word “injunction” in §13(b) of the FTC Act, has ignored the modern
Supreme Court cases rejecting the equity of the statute. Rather than
adhere to the statutory text, the Circuit has invoked one of the obsolete
mid-twentieth-century Supreme Court decisions as support for reading
the word “restitution” into the word “injunction.”

In a special concurrence, a majority of the panel in this case
laments this Circuit’s “unfortunate interpretation” of §13(b). (Slip
Op. 22.) “The text and structure of the statute,” they write,
“unambiguously foreclose . . . monetary relief.” (Id.) Awarding
restitution in defiance of the statute’s text, they observe, “wrests from

Cong'ress its authority to create rights and remedies.” (Id.) They urge

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the Circuit to “rehear this case en banc to relinquish what Congress
withheld.” (Id.)
The Circuit should do SO.
ARGUMENT
THE CIRcUrr’s READING OF FTC Ac'r §13(13) RELIES ON AN

OuTMoDEn--AND ILLEGITIMATE-FoRM OF STATUTORY
INTERPRETATIQN.

This Circuit has repeatedly said that the word “injunction” in
§13(b) unlocks the entire vault of equitable remedies Rather than
ground this conclusion in a rigorous analysis of the FTC Act’s text and
structure, the Circuit has simply relied on Porter, 328 U.S. 395. The
approach in Porter strongly resembles the early common-law courts’ use
of the equity of the statute to engage in freewheeling statutory revision.
Although the Supreme Court briefly wielded this form of power in
Porter and a few other decisions, it had already begun to discard it by
the time this Circuit began relying on Porter to expand §13(b) beyond
its text. The Supreme Court has now sworn off using anything like the

equity of the statute. This Circuit should do the same.

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A. Commerce Planet Is, In Eff'ect, An Exercise Of The
Equity Of The Statute.

The panel affirmed a $1.27 billion restitution award. It did so even
though the purported authority for this remedy, §13(b) of the FTC Act,
says merely that “in proper cases” a court may issue a “permanent
injunction.” 15 U.S.C. § 53(b). Despite the statute’s mentioning only an
“injunction,” the panel was required by a line of Ninth Circuit decisions
to permit restitution

The most recent of these decisions is FTC v. Commerce Planet,
Inc., 815 F.3d 593 (9th Cir. 2016). Commerce Planet acknowledges that
§13(b) “mentions only injunctive relief.” 815 F.3d at 598. lt then Says,
however, that §13(b) nonetheless “empowers district courts to grant any
ancillary relief necessary to accomplish complete justice, including
restitution.” Id. (quoting FTC v. Pantron I Com., 33 F.3d 1088, 1102
(9th Cir. 1994)).

But “injunction” does not mean “restitution.” “Apples,” after all,
does not mean “oranges.” Nor does “injunction” mean “equitable relief
(including, at times, restitution).” That would be like saying that
“apples” means “fruit (including, at times, oranges).” Nor, iinally, can it
be said that some aspect of the FTC Act’s structure reveals Congress’s

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subtle intent to use “injunction” to mean “injunction, but maybe

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restitution too. When Congress added Section 13(b), the provision was

expected to be used for obtaining injunctions against illegal conduct
pending completion of FTC administrative hearings.” Shire
ViroPharma, __ F.3d ____, 2019 WL 908577 at *7. “The FTC’s
understandable preference for litigating” in federal court “under
Section 13(b), rather than in an administrative proceeding, does not
justify” an “expansion of the statutory language.” Id. at *9.

Why, then, did Commerce Planet conclude that “injunction” can
mean “restitution”? Commerce Planet looks to Porter, 328 U.S. 395.
Porter, Commerce Planet says, concluded that Congress’s use of
“injunction” in a statute “invoked the court’s .. . inherent equitable
powers.” 815 F.3d at 598. Although by this Commerce Planet means
that Porter read the word “injunction” to trigger the equity jurisdiction
that originated in the Court of Chancery, there are distinct shades, in
Porter and other mid-twentieth century Supreme Court cases, of
another kind of “equity.” These cases engage in a form of judicial

lawmaking that harkens back to the ancient-and defunct-concept of

the equity of the statute.

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B. The Equity Of The Statute Is A Relic From Before The
Separation Of Powers.

“Until relatively modern times (the late eighteenth or early
nineteenth century), the English judiciary always felt a significant
freedom to engage in atextual interpretation” of a statute, John F.
Manning, Textualism and the Equity of the Statute, 101 Colum. L.
Rev. 1, 30 (Jan. 2001). To justify this extratextual authority, the
English judges pointed to the doctrine of the equity of the statute, Id.
The equity of the statute empowered a judge both to “restrict the
general words of a statute When they produced harsh results” and to
“br[ing] omitted cases within the reach of a statute, even when they
admittedly lay outside its express terms.” Id. at 31. So, for example, “a
statute imposing liability on the ‘Warden of the Fleet’ might be
extended . . . to all jailers,” or “a statute applicable to the City of London
might be stretched to include other municipalities.” Id. (collecting
cases).

But this “power to wield a roving equity in statutory
interpretation arose in a political system with no meaningful separation
of powers.” Lemy v. Direct Gen. Fin. Co., 884 F. Supp. 2d 1236, 1239
(M.D. Fla. 2012). “To a medieval common law judge--at the time a mere

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agent of the King~writing the law and interpreting the law” tended to
look “like one activity occurring at different times.” Id. The judge
hearing a case had often, in fact, had a hand in drafting the statute
before him. “When,” for instance, “counsel suggested an interpretation”
of a statute to Ralph de Hengham, Chief Justice of the Common Pleas
from 1301 to 1309, I-Iengham “had an authoritative answer.” Id.
(quoting Theodore F.T. Plucknett, A Concise History of the Common
Law 331 (5th ed. 1956)). “‘Do not gloss the statute,’ he said, ‘for we
know better than you; we made it.”’ Id. Until the Glorious Revolution of
1688, and even for a time after, “the line between lawmaking and
judging” in England “was blurred.” Manning, supra, 101 Colum. L. Rev.
at 36-37. Propelled by the force of habit and tradition, the doctrine of
the equity of the statute persisted in England well into the nineteenth
century. Id. at 53-55.

“In contrast with the . . . English common law system,” the “U.S.
Constitution explicitly disconnects federal judges from the legislative
power and, in so doing, undercuts any judicial claim to derivative
lawmaking authority.” Manning, supra, 101 Colum. L. Rev. at 59. “The

sharp separation of legislative and judicial powers” in the United States

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“was designed, in large measure, to limit judicial discretion--and thus
to promote governance according to known and established laws.” Id. at
61.

“The equity of the statute . . . Was a doctrinal artifact of an ancient
English governmental structure, one that had blended government
powers.” Manning, supra, 101 Colum. L. Rev. at 8. It is a doctrine
foreign to our modern constitutional system.

C. The Supreme Court Briefly Adopted, But Then
Soundly Rejected, The Equity Of The Statute.

For a few decades in the mid~twentieth century, the Supreme
Court played with a doctrine of implied rights and remedies redolent of
the equity of the statute. Sometimes the Court did this while discussing
a distinct “equity” concept-equity jurisdiction Porter, 328 U.S. 395, for
instance_the main authority relied on by Com merce Planet--involved a
statute that empowered a court only to order compliance with, or to
enjoin violations of, the pertinent statute. Porter holds that the statute’s
discussion of injunctive relief activates a court’s broad equity
jurisdiction and that a court may therefore use the statute to “give
whatever . . . relief may be necessary under the circumstances,”
including restitution Id. at 398. The statute did not say “equity

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jurisdiction”; the Court placed those words there itself; it held that
“apples” means “fruit.” It used the equity of the statute to grant itself
equity jurisdiction

The Porter dissent wanted to respect the statute’s text-and thus
democracy and the separation of powers. “Congress could not have been
ignorant of the remedy of restitution,” it wrote; “it knew how to give
remedies it wished to confer.” Porter, 328 U.S. at 405 (Rutledge, J.,
dissenting). Because “the remedy . . . sought” was “inconsistent with the
remedies expressly given by the statute,” the dissent would have
withheld restitution Id. at 408.

The Court’s taste for adding rights and remedies to statutes
reached its height in J.I. Case Co. v. Borak, 377 U.S. 426 (1964). A
shareholder accused a company of circulating a deceptive proxy
statement, but he invoked a section of the Securities Exchange Act of
1934 that says nothing about private suits. Notwithstanding the
absence of a “speciiic reference to a private right of action,” the Court
allowed the suit to proceed, because it thought “private enforcement of
the proxy rules” a “necessary supplement to [SEC] action.” Id. at 432.

The Court created a private right of action from whole cloth because, in

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its view, doing so was a good idea. Cf. Platt v. Lock, 75 Eng. Rep. 57, 59
(K.B. 1550) (“Yet the bill shall be maintainable by equity of the statute

. notwithstanding [that] the statute does not give the action by
express words against any other than the warden of the Fleet
[because] the taking it by equity shall be more beneficial than
prejudicial to the greater number of men.”).

Note well: one of the authorities Borak cites to support its freshly
invented right of action is Porter, the main case relied on by Commerce
Planet. 377 U.S. at 434.

The tide began to turn against the new equity of the statute when
Justice Powell called attention to its flaws while dissenting in Cannon
v. University of C'hicago, 441 U.S. 677 (1979). It is not for a court, wrote
Justice Powell, to determine “what the goals of a [legislative] scheme
should be” or “how those goals should be advanced.” 441 U.S. at 740
(Powell, J., dissenting). Such a “mode of analysis,” he believed, “cannot
be squared with the doctrine of the separation of powers.” Id. at 7 30.
“When Congress chooses not to provide a private civil remedy,” he

concluded, “federal courts should not assume the legislative role of

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creating such a remedy and thereby enlarge their jurisdiction.” Id. at
7 30-31.

Justice Powell’s view_-and that of the Porter dissent-became the
majority view in a series of decisions culminating in Alexander v.
Sandoval, 532 U.S. 275 (2001). “Private rights of action to enforce
federal law,” Sandoval says, “must be created by Congress.” 532 U.S. at
286. “The judicial task,” it continues, “is to interpret the statute
Congress has passed to determine whether it displays an intent to
create not just a private right but also a private remedy.” Id. Creating
new rights or remedies “may be a proper function for common-law
courts, but not for federal tribunals.” Id. at 287. See also Ziglar v.
Abbasi, 137 S.Ct. 1843, 1855-56 (2017) (declaring Borak’s approach to
statutory interpretation defunct); Owner-Operator Ind. Drivers Ass’n v.
Swift Transp. Co., Inc., 632 F.3d 1111, 1121 (9th Cir. 2011) (declining to
use Porter to read monetary relief into a clause in a truth~in-leasing law
that “list[s] only injunctive relief’); United States v. Apex 0il CO., Inc.,
579 F.3d 734, 737 (7th Cir. 2009) (declaring “dead” cases that use Porter
to read monetary relief into an environmental law’s injunction

provision).

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Commerce Planet bypasses the governing standard of statutory

construction-a standard, embodied in Sondoval, of respect for the

legislative role and the separation of powers. Commerce Planet reaches

back and grasps an obsolete standard-a standard, embodied in Porter

and Borak, of judicial aggrandizement and the blending of powers. This

Court should rehear this case en banc, reject Commerce Planet and its

predecessors and align the Circuit’s interpretation of §13(b) with the

modern and binding rules of statutory interpretation

CONCLUSION

The petition for rehearing en banc should be granted.

March 8, 2019

Respectfully submitted,

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CERTIFICATE OF COMPLIANCE

1 certify:

(i) That this brief complies With the page limit set forth in
Circuit Rule 29-2(0)(2). The brief contains 2,432 words.

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Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R. App.
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March 8, 2019

/s/ Corbin K. Barthold

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